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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA



      ELIZABETH SINES ET AL.                            :     Case No. 3:17-CV-72

                    Plaintiff                          :      Judge MOON


                                                       :
             -v-

      JASON KESSLER ET AL.                             :




                            ORDER GRANTING MOTION TO WITHDRAW



             Before the Court is Attorney Elmer Woodard and Attorney James Kolenich’s

      motion to withdraw as counsel for defendants Robert Ray and Matthew Heimbach The

      Court being duly advised finds the motion well taken and it is hereby GRANTED.

                                                       SO ORDERED




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